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      4   Attorney for Defendant
          BRANDON SAVALOJA
      5
      6                               UNITED STATES DISTRICT COURT

      7                              EASTERN DISTRICT OF CALIFORNIA

      8
      9   UNITED STATES OF AMERICA                        ) Case No.: CR S-10-192-JAM
                                                          )
     10                   Plaintiff,                      ) STIPULATION AND ORDER
                                                          ) CONTINUING SENTENCING HEARING
     11          vs.                                      ) AND SETTING MODIFIED BRIEFING
                                                          ) SCHEDULE RE PSR AND OBJECTIONS
     12   BRANDO SAVALOJA,                                )
                                                          )
     13                   Defendant                       )
                                                          )
     14
     15          It is hereby stipulated and agreed to between the United States of America of America
     16   through Assistant United States Attorney Daniel S. McConkie , and the defendant, Brandon
     17   Savaloja by and through his counsel, Lindsay Anne Weston, that the sentencing hearing
     18   scheduled for August 21, 2012, at 9:45 be continued to October 2, 2012, at 9:45, and that the
     19   Court adopt the following revised schedule for objections to the pre-sentence report:
     20   Written objections to the draft pre-sentence report:          September 4, 2012
     21   Disclosure of pre-sentence report:                            September 11, 2012
     22   Motion for correction of PSR                                  September 18, 2012
     23   Reply or statement of non-opposition                          September 25, 2012.
     24          This request is made by the defense. Defense counsel needs additional time to confer
     25   with the defendant, address complicated factual issues, and address a possible guideline range
     26   objection. During the period of time previously set for filing informal objections to the draft pre-
     27   sentence report, defense counsel was engaged in handling a family crisis involving her minor
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      1   child which required significant time away from work and made it difficult to timely provide
      2   informal objections to the probation officer and to counsel for the government.
      3
      4   Dated: August 10, 2012                       Respectfully submitted,
      5                                                /s/Lindsay Anne Weston
      6                                                _____________________
                                                       LINDSAY ANNE WESTON
      7                                                Attorney for Defendant
      8                                                BRANDON SAVALOJA

      9
          Dated: August 10, 2012                       BENJAMIN B. WAGNER
     10                                                United States Attorney
     11
                                                       /s/ Daniel S. McConkie
     12                                                ______________________
                                                       DANIEL S. MCCONKIE
     13                                                Assistant United States Attorney
     14                                                Attorney for the Plaintiff

     15
                                                      ORDER
     16
     17          IT IS SO ORDERED.

     18
          Dated: 8/14/2012
     19
                                                       /s/ John A. Mendez____________
     20                                                JOHN A. MENDEZ
                                                       United States District Court Judge
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